              Case: 11-1009        Document: 15        Page: 1        Filed: 11/29/2010




                 IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
SOVERAIN SOFTWARE LLC,                     )
                                           )   Case No. 2011-1009
               Plaintiff/Appellee,         )
                                           )   On appeal from the United States
         v.                                )   District Court for the Eastern District
                                           )   of Texas
NEWEGG INC.,                               )   Civil Action No. 6:07-cv-00511-LED
                                           )                                                       FILED
                                                                                          U.S. COURT OF APPEALS FOR
               Defendant/Appellant.        )                                                 THE FEDERAL CIRCUIT


                      Soverain's Motion To Extend Time To Respond To                           MJV 29 2010
                        Jones Day's Motion To Withdraw As Counsel
                                                                                                JAN HORBALY
               Soverain Software LLC ("Soverain"), prose, submits this Motion to Extend itGlERK

time by seven (7) days to respond to the motion of Jones Day, our trial and appellate counsel, to

withdraw from representing us on this appeal.

               Jones Day has been Soverain's counsel for more than seven years. It has handled

the Newegg litigation, which has been pending for three years, and the trial, which lasted five

days this spring. Soverain only learned that Jones Day was seeking permission to withdraw on

November 19, the very day the motion was filed. Given the gravity ofthis matter, Soverain's

limited resources (we have a small workforce), and the Thanksgiving holiday, Soverain needs

additional time to respond to Jones Day's unexpected motion to withdraw as our counsel.

               Soverain requests a seven (7) day extension of its time to respond from December

2 to December 9, 2010. Soverain emailed Jones Day and Newegg Inc. this morning requesting

their consent to this short extension, but has not yet had a reply.


Dated: November 24, 2010
Case: 11-1009   Document: 15     Page: 2     Filed: 11/29/2010




                               SOVERAIN SOFTWARE LLC
                                  ProSe


                                      ~rl .              . ~~
                               By:
                                      ~c~l "v-~       A. L-J . .~
                                                                 -~~~~
                                     Katharine A Wolanyk

                               President & Chief Legal Officer
                               233 S. Wacker Drive
                               Chicago, Illinois 60606
                               Telephone: 312-258-8101
                               Facsimile: 312-253-4909




                           2
             Case: 11-1009       Document: 15      Page: 3     Filed: 11/29/2010




                                     Certificate of Service

       This is to certify that on November 24, 2010, a copy of the foregoing was sent by
facsimile and Federal Express to the following:

Kent E. Baldauf, Jr., Esq.
David C. Hanson, Esq.
Daniel Harris Brean, Esq.
The Webb Law Firm
700 Koppers Building
436 Seventh Avenue
Pittsburgh, Pennsylvania 15219

       And

Claudia W. Frost, Esq.
Pillsbury Winthrop Shaw Pittman LLP
909 Fannin Street, Suite 2000
Houston, Texas 77010

Counsel for Defendant/Appellant Newegg Inc.

Kenneth R. Adamo, Esq.
Thomas L. Giannetti, Esq.
Robert P. Ducatman, Esq.
Jones Day
North Point
901 Lakeside A venue
Cleveland, Ohio 44144

Counsel/or Plaintiff/Appellee
  Soverain Software LLC
 (seeking permission to withdraw)

                                                                  ;:~A u~"rl(
                                                                  Katharine A. Wolanyk
             Case: 11-1009        Document: 15           Page: 4       Filed: 11/29/2010

                                SOVERAIN--
                     2;{-1 South Wacker Drive Suite 942.5 Chicago, Illinoi:-; 6o6o()
                       Td,•phone (:~12) 71.5-lSOO • Facsimile (312) 2;);)-4909


                                       November 24, 2010
VIA FEDERAL EXPRESS

Mr. Jan Horbaly
Clerk of Court
U.S. Court of Appeals for the Federal
Circuit
717 Madison Place, N.W.
Room401
Washington, D.C. 20439


             Re:        Soverain Software LLC v. Newegg Inc., Case No. 2011-1009 (Fed.
                        Cir.)

                        Soverain's Motion To Extend Time

Dear Mr. Horbaly:
              As advised by the Clerk in the ProSe office this morning, I enclose the original
and three copies of Soverain Software LLC's Motion to Extend Time to Respond to Jones
Day's Motion to Withdraw as Counsel for Soverain on this appeal.
                                                          Sincerely,




                                                          Katharine A. Wolanyk
                                                          President and Chief Legal Officer
                                                          Soverain Software LLC
Enclosures
               Case: 11-1009     Document: 15   Page: 5   Filed: 11/29/2010




cc(wjencl.):   Kent E. Baldauf, Jr., Esq.
               David C. Hanson, Esq.
               Daniel H. Brean, Esq.
               Claudia W. Frost, Esq.
               Kenneth R. Adamo, Esq.
               Thomas L. Giannetti, Esq.
               Robert P. Ducatman, Esq.
                      By Federal Express
                  Case: 11-1009        Document: 15        Page: 6      Filed: 11/29/2010



                                       SOVERAIN
                      233 South Wacker Drive Suite 9425 Chicago, Illinois 6o6o6
                        Telephone C:312) 715-1500 • Facsimile (~p2) 25~3-4909


DATE:                     November 24,2010

FROM:                     Katharine A. Wolanyk                                 tiE6etVeB
                          Soverain Software LLC
                          T: (312) 715-1500

                                                                            tbitcd StlJtn~ CrJurl ul Appeals
PLEASE DELIVER TO:                                                              fer TliG Federal Circuit

Recipient Name                      Company Name                    Facsimile                         Telephone
                                                                    Number                            Number
Mr. Jan Horbaly                     Clerk of Court                  (202) 275-9678
                                    U.S. Court of Appeals for the
                                    Federal Circuit

cc: Mr. Kenneth R. Adamo, Esq.      Jones Day                       (214) 969-5100
    Mr. Thomas L. Giannetti, Esq.   Jones Day                       (212) 326-3939
    Mr. Kent E. Baldauf, Esq.       The Webb Law Firm               (412) 471-4094
    Ms. Claudia W. Frost, Esq.      Pillsbury Winthrop Shaw         (713) 276-7673
                                    Pittman, LLC




NOTE:
Dear Mr. Horbaly,

      We understand from speaking with the pro se clerk this morning, that the attached
Motion to Extend needs to be filed today, Wednesday, November 24. Please see attached
motion for filing. The original signed motion and three (3) copies have been sent to you by
Federal Express, as well as to the above parties.

                                                                         Thank you.
